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                          IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO



AMBER KUCZKOWSKI,

       Plaintiff,

v.                                                        No. 2:18-cv-01152 WJ/CG

HOBBY LOBBY STORES, INC., dba
HOBBY LOBBY STORE 0302, and
JERRY “LEE” PATTERSON, individually,

       Defendants.

                            NOTICE OF CONSENT TO ARBITRATE

       Plaintiff Amber Kuczkowski files this Notice of Consent to Arbitrate to notify the

Court that the parties consent to a stay of this matter and referral to arbitration. In

support of this Notice, the parties show the following:

1.     On April 15, 2019, Defendant Hobby Lobby filed a Motion to Compel

Arbitration and to Abate Proceedings seeking to compel Plaintiff to submit to

arbitration claims arising out of and related to her employment with Hobby Lobby.

2.     On or about April 16, 2019, Plaintiff’s counsel notified Hobby Lobby’s counsel

that Plaintiff agrees to arbitration.

3.     The parties are in discussions to find a mutually-agreeable Arbitrator to both

parties.

4.     Accordingly, the parties hereby notify the Court that both parties agree to

stay this case pending the conclusion of the arbitration.



                                          Respectfully submitted,

                                          VALDEZ & WHITE LAW FIRM, LLC
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                                       /s/Timothy L. White
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                             CERTIFICATE OF SERVICE


WE HEREBY CERTIFY that a true and correct copy of Notice of Consent to Arbitrate

was emailed to opposing counsel on April 18, 2019:

      Mario Franke
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      /s/Timothy L. White
      Timothy L. White
